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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


John Doe (1968-1990)

       Plaintiff(s),

                                                        Case No: 22-10134
vs                                                      Hon. Victoria A. Roberts

University of Michigan, et al.,

       Defendant(s).
                                          /

                                  ORDER DISMISSING CASE

       Pursuant to the Notices of Voluntary Dismissal filed by Plaintiff [ECF No. 6], this

case is DISMISSED WITHOUT PREJUDICE.

       ORDERED.



                                                        s/ Victoria A. Roberts______
                                                        Victoria A. Roberts
                                                        United States District Judge
Dated: 6/13/2022
